      Case 1:11-cr-00111-NRB Document 39 Filed 08/22/11 Page 1 of 6



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - -x
                                       :
UNITED STATES OF AMERICA
                                       :        GOVERNMENT’S
          - v. -                                FORFEITURE BILL OF
                                       :        PARTICULARS
MAROUN SAADE, et al.,
                                       :        S1 11 Cr. 111 (NRB)

                     Defendants.            :

- - - - - - - - - - - - - - - - - - - -x
      Case 1:11-cr-00111-NRB Document 39 Filed 08/22/11 Page 2 of 6



          Pursuant to United States v. Grammatikos, 633 F.2d

1013, 1024 (2d Cir. 1980), the Government respectfully gives

notice that the property subject to forfeiture as a result of the

offenses alleged in Counts Four and Five of the Indictment, as

alleged in the Indictment’s Forfeiture Allegations, includes all

of the defendants’ right, title, and interest in the following:

          Property seized from Alwar Pouryan in Romania:

          a.   One 14kt. yellow and white gold diamond
               pave ring;

          b.   One 18kt. yellow gold diamond
               ring;

          c.   One 18kt. yellow gold single diamond
               ring;

          d.   One 18kt. yellow gold diamond and onyx
               ring;

          e.   One 14kt. yellow gold, modified marine link
               chain bracelet;

          f.   One 21kt. yellow gold Damascus chain necklace
               with an 18kt. yellow gold “Kneeling King” pendant;

          g.   One gold-plated stainless steel Roberto
               Cavalli chronograph wristwatch;

          h.   One 18kt. yellow gold cased Longines
               wristwatch;

          i.   One two-tone stainless steel Guess
               wristwatch;

          j.   One stainless steel Omorfia chronograph
               wristwatch;

          k.   One stainless steel Puma wristwatch;

          l.   One yellow plated stainless steel
               Rovina wristwatch;


                                   2
Case 1:11-cr-00111-NRB Document 39 Filed 08/22/11 Page 3 of 6



    m.   One stainless steel and yellow gold
         plated “Omega Constellation” wristwatch;

    n.   One 14kt. yellow gold black onyx signet
         ring;

    o.   One 14kt. white gold and onyx ring;

    p.   One 14kt. white gold squared onyx Damiani
         ring;

    q.   One 18kt. yellow and gold beveled Italian link
         chain with an 18kt. yellow gold filigree capped
         tiger claw pendant;

    r.   One 18 kt. white gold, Favre-Leuba
         wristwatch;

    s.   One stainless steel Rovina wristwatch;

    t.   One imitation Longines wristwatch;

    u.   One stainless steel cased Rovina
         wristwatch;

    v.   One Gucci quartz wristwatch;

    w.   One 18 kt. yellow gold “Omega
         Constellation” wristwatch;

    x.   One TX Technoluxury wristwatch;

    y.   One Vertu Ascent Ti cell phone, Type RM-267V, IMEI
         # 354101000061258;

    Currency Seized from Alwar Pouryan and Oded Orbach in
    Romania:

    a.   Approximately $11,250.00 in United States currency
         seized from Alwar Pouryan;

    b.   Approximately $1596.00 in United States currency
         seized from Oded Orbach;

    Items Seized from Alwar Pouryan’s Safe Deposit Boxes:

    a.   One 18kt. yellow gold flat filed curb link chain
         bracelet;


                             3
Case 1:11-cr-00111-NRB Document 39 Filed 08/22/11 Page 4 of 6



    b.   One 14kt. yellow gold twisted chain link bracelet;

    c.   One 22kt. yellow gold tapered chain bracelet;

    d.   One 18kt. yellow gold diamond cut rope chain with
         rhodium finished faceting;

    e.   One 10kt. yellow gold twisted chain link necklace;

    f.   One 22kt. yellow gold, silver and diamond
         necklace;

    g.   One 22kt. yellow gold necklace;

    h.   One 18kt. tri-colored gold Geneve wristwatch;

    i.   One 21kt. yellow gold, sardonyx ring;

    j.   One 9kt. yellow gold cubic zirconia ring;

    k.   One 22kt. yellow gold, silver and diamond ring;

    l.   One 22kt. yellow gold ring;

    m.   One pair of 22kt. yellow gold, silver and diamond
         earrings;

    n.   One pair of 14kt. pink gold and cubic zirconia
         earrings;

    o.   One pair of 22K yellow gold drop earrings;

    p.   One sterling silver and turquois pendant;

    q.   One 21 Kt. yellow gold “Allah” pendant;

    r.   One 20 gram gold heart pendant by ARY;

    s.   One 21 kt. yellow gold open heart motif pendant
         set with twenty-five 2.5 mm round cut brown
         cubic zirconia;

    t.   One 21kt. yellow gold hinged bangle bracelet;

    u.   One 22kt. yellow gold hinged bangle bracelet;

    v.   One 21kt. yellow gold hinged bangle bracelet;

    w.   One 22kt. yellow gold hinged bangle bracelet;

                             4
Case 1:11-cr-00111-NRB Document 39 Filed 08/22/11 Page 5 of 6



    x.    One 21kt. yellow gold hinged bangle bracelet;

    y.    One 21kt. yellow gold hinged bangle bracelet;

    z.    One 21kt. yellow gold hinged bangle bracelet;

    aa.   One 21kt. yellow gold hinged bangle bracelet;

    bb.   One 21kt. yellow gold hinged bangle bracelet;

    cc.   One 10 gram fine gold ingot pendant by TAYER, with
          a free swinging bail;

    dd.   One 22kt. yellow gold, Turkish 500 Kurush coin
          pendant;

    ee.   One 10 gram fine gold ingot pendant by PAMP, with
          a free swinging bail;

    ff.   One pair of matching 22kt. yellow gold, 250
          Turkish Kurush coin motif pendants;

    gg.   One 5 gram fine gold Jordan wafer ingot in an
          18kt. yellow gold pendant frame with a free
          swinging bail;

    hh.   One 22kt. yellow gold, Turkish 250 Kurush coin
          motif pendant;

    ii.   One 18kt. yellow gold framed, 5 gram fine PAMP
          Suisse ingot pendant;

    jj.   One 10 gram fine gold USB wafer pendant with a
          soldered jump ring bail;

    kk.   One 50 gram fine gold wafer by Heraeus;

    ll.   One 10 gram fine gold ingot/pendant sealed on a
          PAMP Suisse certificate number 461803;

    mm.   One 15.65 gram 999 fine gold ingot/pendant sealed
          on a PAMP Suisse certificate number 099872;

    nn.   One 10 gram fine gold wafer by Heraeus, in
          plastic;

    oo.   One 20 gram fine gold wafer by Heraeus, in
          plastic;


                             5
 Case 1:11-cr-00111-NRB Document 39 Filed 08/22/11 Page 6 of 6



     pp.   One 50 gram fine gold wafer by Heraeus, in
           plastic;

     qq.   One 10 gram, fine gold wafer sealed on USB
           certificate number 008153;

     rr.   One 10 gram, fine gold wafer sealed on USB
           certificate number 003243;

     ss.   One 10 gram, fine gold wafer sealed on USB
           certificate number 008155;

     tt.   One 10 gram, fine gold wafer sealed on USB
           certificate number 003433;

     uu.   One 10 gram, fine gold wafer sealed on USB
           certificate number 003436;

     vv.   One 10 gram, fine gold wafer sealed on USB
           certificate number 003440;

     ww.   One 10 gram, fine gold wafer sealed on USB
           certificate number 008160;

Currency Seized from Alwar Pouryan’s Safe Deposit Boxes:

     a.    Approximately $2,581.29 worth of Iraqi
           currency.



                            Respectfully Submitted,

                            PREET BHARARA
                            United States Attorney

                      By:    /s/ Christian R. Everdell
                            Aimee Hector
                            Christian R. Everdell
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                              6
